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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ADRIAN HEILBUT, JESSEE BRODKIN,
 ENEA MILIORIS,                                          Civil Action No. 1:24-cv-05948-JLR

          Plaintiffs,                                    Judge Jennifer L. Rochon

 v.                                                      MOTION FOR ADMISSION PRO HAC
                                                         VICE OF CAITLIN A. KOVACS
 CASSAVA SCIENCES, INC., REMI
 BARBIER, and LINDSAY BURNS,

          Defendants.



        Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern District

of New York, Caitlin A. Kovacs hereby moves this Court for an Order for admission to practice

pro hac vice to appear as counsel for Defendants Cassava Sciences, Inc., Remi Barbier and Lindsay

Burns in the above-captioned action.

        I am a member in good standing of the Bar of Illinois, and there are no pending disciplinary

proceedings against me in any state or federal court. I have never been convicted of a felony,

censured, suspended, disbarred, or denied admission or readmission by any court.

        Attached as Exhibit “A” is a Certificate of Good Standing issued by the Supreme Court

of Illinois.

        Attached as “Exhibit “B” is my Affidavit pursuant to Local Rule 1.3.

        Attached as Exhibit “C” is the text of a proposed Order.

        WHEREFORE, for the reasons stated above, I respectfully move the Court to grant this

motion.
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Dated: November 27, 2024           Respectfully submitted,

                                   BENESCH, FRIEDLANDER,                 COPLAN
                                    & ARONOFF LLP

                                   /s/ Caitlin A. Kovacs
                                   Caitlin A. Kovacs (pro hac vice forthcoming)
                                   Illinois ARDC No. 6313273
                                   71 South Wacker Drive, Suite 1600
                                   Chicago, IL 60606
                                   Telephone: (312) 212-4949
                                   Facsimile: (312) 767-9192
                                   Email: CKovacs@beneschlaw.com

                                   J. Erik Connolly (pro hac vice forthcoming)
                                   Illinois ARDC No. 6269558
                                   New York State Bar No. 6133276
                                   71 South Wacker Drive, Suite 1600
                                   Chicago, IL 60606
                                   Telephone: (312) 212-4949
                                   Facsimile: (312) 767-9192
                                   Email: EConnolly@beneschlaw.com

                                   Michael B. Silverstein (pro hac vice forthcoming)
                                   Ohio Bar No. 0098036
                                   41 South High Street, Suite 2600
                                   Columbus, OH 43215
                                   Telephone: (614) 223-9300
                                   Facsimile: (614) 223-9330
                                   Email: msilverstein@beneschlaw.com

                                   Michael A. Vatis
                                   New York State Bar No. 2258655
                                   1155 Avenue of the Americas, Floor 26
                                   New York, NY 10036
                                   Telephone: (646) 593-7050
                                   Facsimile: (646) 755-3397
                                   Email: mvatis@beneschlaw.com

                                   Attorneys for Defendants Cassava Sciences, Inc.,
                                   Remi Barbier and Dr. Lindsay Burns




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